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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

                 Plaintiffs,
                                                 Civil Action No. 1:18-cv-152 (JEB)
    v.


ALEX M. AZAR II, et al.,

                 Defendants.


                       NOTICE OF WITHDRAWAL OF COUNSEL

          Pursuant to Local Rule 83.6(b), notice is hereby given that Deepthy Kishore of the

U.S. Department of Justice hereby withdraws as attorney of record on behalf of the federal

defendants in this case. The federal defendants will continue to be represented by other

counsel of record from the U.S. Department of Justice who have already noticed appearances

in this case.

Dated: July 11, 2018                           Respectfully submitted,

                                                /s/ Deepthy Kishore
                                               DEEPTHY KISHORE (IL Bar # 6306338)
                                               Trial Attorney
                                               U.S. DEPARTMENT OF JUSTICE
                                               950 Pennsylvania Ave. NW
                                               Washington, D.C. 20530
                                               (202) 514–3965 (telephone)
                                               deepthy.kishore@usdoj.gov
